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  12
                                    UNITED STATES DISTRICT COURT
  13
                 CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
  14
  15
     MEGAN SCHMITT, DEANA                               Case No. 8:17-cv-01397-JVS-JDE
  16 REILLY, CAROL ORLOWSKY, and
     STEPHANIE MILLER BRUN,                             DEFENDANT'S NOTICE OF
  17 individually and on behalf of                      MOTION AND MOTION TO
     themselves and all others similarly                DISMISS FIRST AMENDED
  18 situated,                                          COMPLAINT
  19                      Plaintiffs,                   [Memorandum of Points and
                                                        Authorities and Proposed Order filed
  20           v.                                       concurrently herewith]
  21 YOUNIQUE, LLC                                      Hearing:
                                                        Date: December 4, 2017
  22                      Defendant.                    Time: 1:30 p.m.
  23                                                    The Hon. James V. Selna
                                                        Santa Ana, Courtroom 10C
  24
                                                        Complaint filed: August 14, 2017
  25                                                    Trial Date:       None Set
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       SMRH:484567586.1         DEFENDANT'S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FAC
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   1           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
   2           PLEASE TAKE NOTICE THAT on December 4, 2017, at 1:30 p.m., or as
   3 soon thereafter as counsel may be heard in Courtroom 10C, in the United States
   4 District Court for the Central District of California, 411 West 4th Street, Room 1053
   5 Santa Ana, California, 92701, the Honorable James V. Selna presiding, Defendant
   6 Younique, LLC, will and hereby does move the Court for an order dismissing the
   7 First Amended Class Action Complaint ("FAC") filed by Plaintiffs Megan Schmitt,
   8 Deana Reilly, Carol Orlowsky, and Stephanie Miller Brun. Defendant brings this
   9 Motion under Fed. R. Civ. Proc. 12(b)(1) and 12(b)(6) on the following grounds.
  10           1.         Claim 1 (Magnuson-Moss) (FAC, ¶¶ 52-61). Plaintiffs fails to allege
  11 facts to state a claim under Magnuson-Moss. Magnuson-Moss "narrowly defines"
  12 the term "written warranty" as either (a) a written affirmation of fact that "affirms or
  13 promises that such material or workmanship is defect free or will meet a specified
  14 level of performance over a specified period of time"; or (b) a written promise "to
  15 refund, repair, replace, or take other remedial action with respect to such product"
  16 should it not meet specifications. 15 U.S.C. § 2301(6); Hairston v. South Beach
  17 Bev. Co., 2012 U.S. Dist. LEXIS 74279, *17-20 (C.D. Cal. May 18, 2012)
  18 (dismissing MMWA claim with prejudice). The Product's label does not promise
  19 that the mascara is "defect free or will meet a specified level of performance over a
  20 specified period of time." (CAC, ¶ 8 (images).) While the Product states that it
  21 contains "natural fibers", this statement is a product description, not a promise that
  22 the product is "defect free" or guaranteeing a level of performance. See Hairston,
  23 2012 U.S. Dist. LEXIS at *18-19; Astiana v. Dreyer's Grand Ice Cream, Inc., 2012
  24 U.S. Dist. LEXIS 101371, *9-11 (N.D. Cal. July 20, 2012). Moreover, the Product's
  25 label does not promise to "refund, repair, replace, or take other remedial action" if
  26 the mascara does not meet specifications. (CAC, ¶ 8.) Therefore, it does not meet
  27 the second definition of "written warranty" provided by Magnuson-Moss.
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   1           2.         Claims 7, 11, 14, 17 (Implied Warranty/Merchantability) (FAC, ¶¶
   2 105-111; 133-140; 157-164; 184-190, respectively). Plaintiffs fail to allege that the
   3 Product is unfit for its ordinary use as a mascara, and thus fail to state a claim for
   4 breach of the implied warranty of merchantability. Cal. Com. Code § 2314; Fla.
   5 U.C.C. § 672.314; O.R.C. § 1302.27; Tenn. C. § 47-2-314; see, e.g., Mocek v. Alfa
   6 Leisure, Inc., 114 Cal.App.4th 402, 406 (2003); Birdsong v. Apple, Inc., 590 F.3d
   7 955, 958 (9th Cir. 2009) (affirming dismissal of claim; "The plaintiffs admit that the
   8 iPod has an 'ordinary purpose of listening to music,' and nothing they allege
   9 suggests iPods are unsafe for that use or defective.").
  10           3.         Claim 18 (Implied Warranty/Particular Purpose) (FAC, ¶¶ 191-198).
  11 Plaintiffs fail to allege a plausible, particular purpose for purchasing or using the
  12 Product, and therefore fail to state a claim for breach of the implied warranty of
  13 fitness for a particular purpose. Cal. Com. Code § 2315; Fla. U.C.C. § 672.315;
  14 O.R.C. § 1302.28; Tenn. C. § 47-2-315; see also Mathison v. Bumbo, 2008 U.S.
  15 Dist. LEXIS 108511, *27-28 (C.D. Cal. Aug. 18, 2008) (applying California law;
  16 dismissing claim for failure to allege a particular purpose; "There is nothing
  17 'peculiar' about using a baby seat to 'secure infants and toddlers'."); Foley v. Dayton
  18 Bank & Trust, 696 S.W.2d 356, 359 (Tenn. Ct. App. 1985) (applying Tennessee
  19 law; affirming dismissal of complaint; finding that purchasing a truck for the
  20 purpose of leasing it for long distance hauling was consistent with the general
  21 purpose of purchasing a truck, and therefore plaintiff failed to show a "particular
  22 purpose"). Plaintiffs assert that "[t]he particular purpose for which the Products
  23 were used was to allow the consumer to avoid being exposed to synthetic
  24 ingredients." (FAC, ¶ 195 (emphasis added).) This allegation is implausible and
  25 cannot be credited: the Product plainly states that it contains nylon in its
  26 transplanting gel. (FAC, ¶ 8). Plaintiffs admit that they believe nylon is synthetic
  27 (FAC, ¶¶ 26, 30, 34, 38), and Plaintiffs admit that a "reasonable person would not
  28 consider nylon 'natural'" (FAC, ¶ 7 (pg. 6)).

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   1           4.         Claim 2 (UCL) (FAC, ¶¶ 62-68). Plaintiffs' UCL claim should be
   2 dismissed with prejudice because only equitable relief is available under the UCL
   3 (Korea Supply Co. v. Lockheed Martin Corp., 29 Cal.4th 1134, 1144 (2003)); the
   4 FAC seeks monetary damages only (FAC, p. 37-38); and Plaintiffs nowhere allege
   5 that their other 17 claims do not accord them an adequate remedy at law (Munning
   6 v. Gap, Inc., 238 F.Supp.3d 1195, 1203 (N.D. Cal. 2017) (citing Rhynes v. Stryker
   7 Corp., 2011 U.S. Dist. LEXIS 58286, *10 (N.D. Cal. May 31, 2011) ("Where the
   8 claims pleaded by a plaintiff may entitle her to an adequate remedy at law, equitable
   9 relief is unavailable."))). Plaintiffs lack standing to seek equitable relief under the
  10 UCL.
  11           5.         Claims 15, 16, 17, 18 (Other States' Laws) (FAC, ¶¶ 165-198). Class
  12 action plaintiffs "must allege that they were injured in a particular state in order to
  13 bring claims under that state's laws." United Food & Commer. Workers Local 1776
  14 & Participating Employers Health & Welfare Fund v. Teikoku Pharma USA, Inc.,
  15 74 F.Supp.3d 1052, 1078-79 (N.D. Cal. 2014) (citing nine other Ninth Circuit
  16 district court cases finding same and based thereon, finding it could address standing
  17 at the motion to dismiss phase; dismissing claims arising under 20 states' laws which
  18 plaintiffs had no connection to). When "a representative plaintiff is lacking for a
  19 particular state, all claims based on that state's laws are subject to dismissal." In re
  20 Flash Memory Antitrust Litig., 643 F.Supp.2d 1133, 1164 (N.D. Cal. 2009)
  21 (dismissing claims arising under laws of states for which there was no representative
  22 plaintiff); accord, Mollicone v. Universal Handicraft, Inc., 2017 U.S. Dist. LEXIS
  23 14125, *26-29 (C.D. Cal. Jan. 30, 2017) (finding same and dismissing all claims
  24 arising under other states' laws except for laws of plaintiff's home state and state
  25 where she purchased the product). Plaintiffs purport to bring claims under the laws
  26 of all other states, but lack standing to do so. Plaintiffs are residents of California,
  27 Florida, Ohio, and Tennessee, who have brought claims under the laws of those
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   1 states. They allege no connection to the laws of the 46 other states to allow them
   2 bring claims under those states' laws.
   3           6.         Claims 6, 8, 18 (Notice Requirements) (FAC, ¶¶ 99-104; 112-118; 191-
   4 198, respectively). Plaintiff Reilly alleged breaches of Florida's express warranty
   5 law (Claim 6) and of Florida's implied warranty law (Claim 18). To properly plead
   6 claims for breach of warranties under Florida law, the complaint must include
   7 allegations that the plaintiff provided notice of the breach to the seller. Dunham-
   8 Bush, Inc. v. Thermo-Air Service, Inc., 351 So. 2d 351, 353 (Fla. Dist. Ct. App.
   9 1977) (dismissing complaint for failure to include all required pleading elements,
  10 such as notice). Plaintiff Reilly, however, does not allege that she gave the
  11 statutorily-required notice. This is grounds for dismissal of both claims. Id.
  12           Plaintiff Brun alleges a violation of Ohio's Consumer Sales Practices Act
  13 (O.R.C. § 1345 et seq; "OCSPA"), and seeks to bring a class-wide claim based
  14 thereon (Claim 8). Plaintiffs bringing class actions under the OCSPA, however, are
  15 subject to the statute's class action notice requirement. In re Porsche Cars N. Am.,
  16 Inc. Plastic Coolant Tubes Prods. Liab. Litig., 880 F.Supp.2d 801, 868 (S.D. Ohio
  17 2012) (dismissing claim for failure to meet the notice requirement). Plaintiffs
  18 bringing claims on behalf of a class must demonstrate that either (1) the alleged
  19 violation is an act that was declared to be deceptive by a rule adopted by the
  20 Attorney General before the consumer transaction on which the action is based; or
  21 (2) the alleged violation is an act that was determined by a court to violate the
  22 OCSPA, and the court's decision was available for inspection before the transaction
  23 took place. O.R.C. § 1345.09(B). The class action complaint must identify the rule
  24 or case that satisfies Section 1345.09(B)'s notice requirement. In re Porsche, 880
  25 F.Supp.2d at 868. Plaintiff Brun does not allege that she complied with Section
  26 1345.09(B)'s notice requirement or identify the rule or case that was allegedly
  27 violated. Accordingly, the claim must be dismissed.
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   1           Prior to bringing this Motion, counsel for Defendant met and conferred with
   2 Plaintiffs' counsel by telephone on October 26, 2017, in compliance with Local Rule
   3 7-3. Counsel for Defendant also followed up by detailed email on October 30, 2017.
   4 These discussions did not resolve the dispute.
   5           This Motion is based on this Notice, the accompanying Memorandum of
   6 Points and Authorities, all pleadings, papers and other documentary materials in the
   7 Court’s file for this action, those matters of which this Court may or must take
   8 judicial notice, and such other matters as this Court may consider.
   9
  10 Dated: November 3, 2017
  11                                 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
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  13
                                     By                     /s/ Sascha Henry
  14                                                       SASCHA HENRY
  15                                                      ABBY H. MEYER
                                                Attorneys for Defendant Younique, LLC
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